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IN THE UNITED sTATEs DISTRICT COURT `
FOR THE wEsTERN DlSTR;ICT oF TENNESSEE 05 _JUH ~6 Al'l -51.119»

 

WESTERN DIVISION
?,?§§PT 1‘?¢~ ‘°*m§"i.»@
W.D D.OF“' m minesz
UNITED STATES OF AMERICA, )
Plaintiff, )
) CR. NO. 05-20019-D
v. )
)
LAPEDRO FINLEY, )
Defendant. )

 

MOTION TO EXTEND 'I`IME TO FILE GOVERNMENT'S RESPONSE
TO MOTION FOR RECONSIDERATION

 

COMES NOW the United States of America, by and through Terrell L. Harris, United States
Attorney for the Western District of Tennessee and his assistant, Katrina U. Earley and moves this
Honorable Court to allow the United States until Monday, June 27, 2005, to tile the Governrnent’s

Response to Motion for Reconsideration of Suppression Ruling. In support of this motion, the
Govemment states the following:

l. The government attorney of record, Jennifer Webber, is presently out of the office
on maternity leave. Accordingly, this case has recently been assigned to the
undersigned until Ms. Webber returns.

2. The undersigned has briefs due to the Sixth Circuit on June 6, 2005 and June 20,
2005.

3. ln addition, the undersigned is scheduled for trial the Week of June 13, 2005.

4. Due to trial and appellate briefing schedules, the undersigned needs additional

time to adequately address the 1ssues raised 1n the Motion for Reconsideration.

MOT|ON GRANTED

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BERN|CE BOUIE DONALD
u. S. DlSTRlCT JUDGE

 

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3. Randy Alden, Attorney for the Defendant, has been out of the office this week.
Therefore the undersigned has been unable to confer With him regarding this
matter.

Based on the forgoing, the United States would request until Monday, June 27, 2005 to

file the Government’s Response to Motion for Reconsideration of Suppression Ruling

Respectfully submitted,

TER_RELL L. HARRIS
UNITED STATES ATTORNEY

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By: m w » W
KATRJNA U. EARLEY
Assistant United States Atto ey
167 N. Main, Suite 800
Memphis, Tennessee 38103
(No. 019367 Tennessee)
901 -544»4231

CERTIFICATE OF SERVICE
I, KATR]NA U. EARLEY, Assistant United States Attorney for the Western District of
Tennessee, hereby certify that a copy of the foregoing Response to Motion for Revocation of
Detention Order has been mailed via first-class mail to Mr. Randolph Alden, Attorney at Law, 200

Jefferson Ave., Suite 200, Memphis, Tennessee 38103, counsel for Defendant.

M(
This 27 day of June, 2005.

ilatriiia U. Earley
Assistant United States Attorne

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-200]9 Was distributed by faX, mail, or direct printing on
J unc 7, 2005 to the parties listed.

 

 

Randolph W. Alden

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Honorable Bernice Donald
US DISTRICT COURT

